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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                           )
    In re                                  )                         Chapter 11
                                           )
    TOUGH MUDDER INC., et al., 1           )                         Case No. 20-10036 (CSS)
                                           )
                      Debtors.             )                         Jointly Administered
                                           )
                                           )                         RE: D.I.   85
    _______________________________________)

  ORDER UNDER SECTIONS 327(a) AND 328(a) OF THE BANKRUPTCY CODE,
RULES 2014 AND 2016 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE,
   AND LOCAL RULES 2014-1 AND 2016-1 AUTHORIZING RETENTION AND
 EMPLOYMENT OF MORRIS, NICHOLS, ARSHT & TUNNELL LLP AS COUNSEL
    FOR THE TRUSTEE NUNC PRO TUNC TO THE APPOINTMENT DATE

                     Upon the application (the “Application”) 2 of Derek C. Abbott, Esq., the chapter

11 trustee (the “Trustee”) for Tough Mudder Inc. (“Tough Mudder”) and Tough Mudder Event

Production Inc. (“TM Events” and, together with Tough Mudder, the “Debtors”), in the above-

captioned chapter 11 cases (the “Chapter 11 Cases”) for entry of an order (this “Order”),

pursuant to sections 327(a) and 328(a) of the Bankruptcy Code, Bankruptcy Rules 2014 and

2016, and Local Rules 2014-1 and 2016-1, authorizing the retention and employment of Morris,

Nichols, Arsht & Tunnell LLP (“Morris Nichols”) as counsel for the Trustee nunc pro tunc to the

Appointment Date; and upon the Harvey Declaration attached to the Application; and the Court

being satisfied that Morris Nichols represents no interest adverse to the Debtors’ estates, that

Morris Nichols is a “disinterested person” within the meaning of section 101(14) of the

Bankruptcy Code, and that the retention and employment of Morris Nichols is necessary and in


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            The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
            identification number, are: Tough Mudder Inc. (2576) and Tough Mudder Event Production Inc. (6845).
            The Debtors’ address is 15 MetroTech Center, Brooklyn, NY 12201.
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            Capitalized terms not otherwise defined herein are used as in the Application.
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the best interests of the Debtors, their estates, and other parties in interest; and the Court having

jurisdiction over the Application pursuant to 28 U.S.C. § 157(b)(2)(A); and sufficient notice of

the Application having been given; and this Court having determined that the relief requested in

the Application is just and proper; and after due deliberation and sufficient cause appearing

therefor;

        IT IS HEREBY ORDERED THAT:

               1.      The Application is GRANTED.

               2.      The Trustee is authorized to retain and employ Morris Nichols as his

counsel in the Chapter 11 Cases nunc pro tunc to January 30, 2020.

               3.      The compensation to be paid to Morris Nichols for professional services

rendered and reimbursement for expenses incurred shall be as determined by this Court upon

proper application pursuant to sections 330 and 331 of the Bankruptcy Code.

               4.      The Trustee is authorized and empowered to take such actions as may be

necessary and appropriate to implement the terms of this Order.

               5.      This Court shall retain jurisdiction with respect to all matters relating to

the interpretation or implementation of this Order.




        Dated: March 12th, 2020                       CHRISTOPHER S. SONTCHI
        Wilmington, Delaware                          UNITED STATES BANKRUPTCY JUDGE



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